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14                                 UNITED STATES DISTRICT COURT

15                                NORTHERN DISTRICT OF CALIFORNIA

16                                       SAN JOSE DIVISION

17   MATT JONES; BRYSON DECHAMBEAU;                 Case No. 5:22-cv-04486-BLF
     PETER UIHLEIN; and LIV GOLF, INC.,
18                                                  DEFENDANT AND CROSS-CLAIMANT
                    Plaintiffs,                     PGA TOUR, INC.’S NOTICE OF
19                                                  MOTION TO COMPEL AND TRANSFER
               v.                                   ORDER FILED IN THE U.S. DISTRICT
20                                                  COURT FOR THE SOUTHERN
     PGA TOUR, INC.,                                DISTRICT OF NEW YORK
21
                    Defendant.
22
                                                    Judge:     Hon. Beth Labson Freeman
23
                                                    Date Filed: August 3, 2022
24

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      NOTICE OF MOTION TO COMPEL AND TRANSFER ORDER FILED IN THE U.S. DISTRICT COURT FOR
                             THE SOUTHERN DISTRICT OF NEW YORK
                                   Case No. 5:22-cv-04486-BLF
     1941796
      Case 5:22-cv-04486-BLF Document 142 Filed 11/04/22 Page 2 of 3



 1                                                        Trial Date: January 8, 2024
     PGA TOUR, INC.,
 2
                     Counterclaimant,
 3
               v.
 4
     LIV GOLF, INC.,
 5
                     Counterdefendant.
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       NOTICE OF FILING OF MOTION TO COMPEL AND TRANSFER ORDER IN THE
 9
               U.S. DISTRICT COURT FOR THE SOUTHERN DISTRICT OF NEW YORK
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11   TO THE COURT AND ALL PARTIES AND THEIR ATTORNEYS OF RECORD:

12             PLEASE TAKE NOTICE that on October 28, 2022, Defendant PGA TOUR, INC. (the

13   “TOUR”) filed in the U.S. District Court for the Southern District of New York a Motion to

14   Compel Public Investment Fund of the Kingdom of Saudi Arabia (“PIF”) and Yasir Othman Al-

15   Rumayyan’s Compliance with Document and Deposition Subpoenas (the “Motion to Compel”).

16   The docket in that matter, Miscellaneous Case No. 22-mc-302-LJL, opened on November 3,

17   2022. The TOUR filed the Motion to Compel in the United States District Court for the Southern

18   District of New York pursuant to Rule 45(d)(2) of the Federal Rules of Civil Procedure, which

19   requires that such motions be filed in the district where compliance is required which, in the case

20   of the subpoenas to PIF and Mr. Al-Rumayyan, is the Southern District of New York. Attached as

21   Exhibit A to this Notice is the public version of the Motion to Compel and supporting papers.

22             On November 4, 2022, the TOUR submitted a Letter to the Court with a Joint Stipulation

23   and Proposed Order to Transfer under Rule 45(f), which sought to transfer the Motion to Compel

24   to the Northern District of California. Judge Lewis J. Liman, to whom the Motion to Compel was

25   assigned in the Southern District of New York, executed the Order to Transfer the same day.

26   Attached as Exhibit B to this Notice is the Joint Stipulation and executed Order to Transfer.

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                             THE SOUTHERN DISTRICT OF NEW YORK
                                   Case No. 5:22-cv-04486-BLF
     1941796
      Case 5:22-cv-04486-BLF Document 142 Filed 11/04/22 Page 3 of 3



 1
     Dated: November 4, 2022                        KEKER, VAN NEST & PETERS LLP
 2

 3
                                              By:   /s/ Elliot R. Peters
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